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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


AMERICAN INSURANCE ASSOCIATION,

  et al.,

       Plaintiffs,

        v.

UNITED STATES DEPARTMENT OF                 Case No. 1:13-cv-00966-RJL
HOUSING AND URBAN DEVELOPMENT,

  et al.,

       Defendants.



                            BRIEF OF
 THE AMERICAN CIVIL LIBERTIES UNION, THE NATIONAL FAIR HOUSING
 ALLIANCE, THE LAWYERS’ COMMITTEE FOR CIVIL RIGHTS UNDER LAW,
         THE POVERTY & RACE RESEARCH ACTION COUNCIL,
 THE NATIONAL CONSUMER LAW CENTER, THE NATIONAL COMMUNITY
         REINVESTMENT COALITION, LATINOJUSTICE PRLDEF,
          THE NATIONAL HOUSING LAW PROJECT, AND AARP
 IN SUPPORT OF DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT AND
    OPPOSITION TO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT


Joseph D. Rich                          Dennis D. Parker
Thomas Silverstein                      Rachel E. Goodman
LAWYERS’ COMMITTEE FOR CIVIL            AMERICAN CIVIL LIBERTIES UNION
RIGHTS UNDER LAW                        FOUNDATION
1401 New York Avenue, N.W., Suite 400   125 Broad St., 18th Floor
Washington, DC 20005                    New York, NY 10004
(202) 662-8600                          (212) 549-2500

Morgan Williams                         Stephen M. Dane
NATIONAL FAIR HOUSING ALLIANCE          RELMAN, DANE & COLFAX PLLC
1101 Vermont Ave. N.W., Suite 710       1225 19th Street, N.W., Suite 600
Washington, D.C. 20005                  Washington, DC 20036
(202) 898-1661                          (202) 728-1888
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                       CORPORATE DISCLOSURE STATEMENT

       Amici are nonprofit corporations. They have no parent corporations, nor does any

corporation own 10% or more of their stock.
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                                  INTERESTS OF AMICI

         Amici are the American Civil Liberties Union, The National Fair Housing

Alliance, the Lawyers’ Committee for Civil Rights Under Law, the Poverty & Race

Research Action Council, the National Consumer Law Center, the National Community

Reinvestment Coalition, LatinoJustice PRLDEF, the National Housing Law Project, and

AARP. Each is a non-profit organization that has long sought to eliminate the vestiges of

our nation’s history of housing segregation and promote equal housing opportunity for

all.1

         No party’s counsel authored this brief in any part, and no party, party’s counsel,

or other person contributed money that was intended to fund it.

               INTRODUCTION AND SUMMARY OF ARGUMENT

         The Supreme Court affirmed last year that disparate impact discrimination

violates the Fair Housing Act. Texas Department of Housing and Community Affairs v.

Inclusive Communities Project. 135 S. Ct. 2507 (2015). In so doing, it “acknowledge[d]

the Fair Housing Act’s continuing role in moving the Nation toward a more integrated

society” and in preventing a racially divided “separate and unequal” society. Id. at 2525-

26. Plaintiffs American Insurance Association and National Association of Mutual

Insurance Companies (hereinafter “Plaintiffs”) remain unwilling to similarly

acknowledge that role, at least with respect to providers of homeowner’s insurance

employing policies that have unjustified and discriminatory effects on members of

protected classes.

         Previous to the Inclusive Communities decision, Plaintiffs brought this case


1
 More detailed statements of interest are contained in the accompanying unopposed motion seeking the
Court’s leave to file this amicus brief.

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seeking to invalidate a rule promulgated by the U.S. Department of Housing and Urban

Development (HUD) which codified its longstanding interpretation of the disparate

impact standard. See ECF No. 16-1, at 1; HUD, Final Rule, Implementation of the Fair

Housing Act’s Discriminatory Effects Standard, 78 Fed. Reg. 11,460 (Feb. 15, 2013)

[hereinafter “HUD Rule” or “Rule”]. Although Plaintiffs’ sole argument was originally

that the Fair Housing Act (FHA) does not prohibit disparate impact discrimination, they

changed tactics after Inclusive Communities. They now argue that Inclusive Communities

itself makes the HUD Rule unlawful, both as applied to providers of homeowner’s

insurance and, it seems, more broadly. Amici agree with the arguments presented by

HUD in support of the Rule and its importance in securing housing opportunities for all

people, see HUD Br., ECF No. 65, but write separately to emphasize two reasons that

Inclusive Communities does not preclude the application of the HUD Rule to

homeowner’s insurance, and to respond to a specious argument raised by Plaintiffs’

amici.

         First, contrary to Plaintiffs’ characterization, insurance underwriting and

ratemaking are not the result exclusively of objective, scientific risk-grouping and risk-

rating practices; these processes include many factors that have nothing to do with risk.

Although Plaintiffs trumpet the supposed tension between the HUD Rule and the risk-

sorting function of the insurance industry, using bizarre hypotheticals, the Rule’s burden-

shifting framework ensures that practices which are, in fact, justified by risk calculations

are unaffected, while practices that unnecessarily limit opportunities for homeownership

warrant closer examination. The HUD Rule mandates no sea change in ratemaking.

         Second, and relatedly, compliance with the HUD Rule does not somehow force



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insurers to engage in discrimination prohibited by the Constitution or the Inclusive

Communities decision. Plaintiffs’ brief reflects confusion about the distinction between

race-neutral policies designed with an awareness of their racial consequences—which the

Supreme Court has repeatedly reaffirmed are fully constitutional, both in Inclusive

Communities and elsewhere—and government policies that label and sort individuals by

race and treat them differently on that basis, which the Supreme Court has indicated can

raise equal protection concerns. In order to comply with the Rule, insurers need not

adopt racial quotas or charge different rates to insureds of different races. They need

only change any policies not justified by actuarial considerations that disadvantage

members of protected classes. Revised policies would be applied identically to each

insured or applicant for insurance. Therefore, the HUD Rule does not constitute a racial

classification creating constitutional issues.

        Finally, although amici supporting Plaintiffs contend that the HUD Rule is

unlawful because it does not apply the disparate impact standard articulated in Wards

Cove Packing Co. v. Atonio, 490 U.S. 642 (1989), that argument is entirely foreclosed by

Nat’l Cable & Telecommunications Ass’n v. Brand X Internet Servs., 545 U.S. 967, 982

(2005). Brand X held that a prior court decision binds an agency only where that prior

decision follows from the unambiguous terms of the statute at issue, and Wards Cove

does not so much as mention the FHA.

   I.      PLAINTIFFS’ ARGUMENT MISCHARACTERIZES THE
           RELATIONSHIP BETWEEN THE HUD RULE AND
           HOMEOWNER’S INSURANCE.

        Homeowner’s insurance is crucial to the real estate and home-finance industries

as a whole, as well as to neighborhoods and to individual homeowners. As observed by a

presidential commission the year the FHA was passed, “[i]nsurance is essential to
                                                 3
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revitalize our cities. . . . Without insurance, buildings are left to deteriorate; services,

goods and jobs diminish. Efforts to rebuild our nation’s inner cities cannot move forward.

Communities without insurance are communities without hope.” President’s National

Advisory Panel on Insurance in Riot Affected Areas, Meeting the Insurance Crisis of Our

Cities 1 (U.S. Government Printing Office 1968). And, as the Seventh Circuit put it in

recognizing that the FHA reaches discrimination in homeowner’s insurance, “No

insurance, no loan; no loan, no house; lack of insurance thus makes housing unavailable.”

NAACP v. Am. Family Mut. Ins. Co., 978 F.2d 287, 297 (7th Cir. 1992).

        Nonetheless, Plaintiffs argue that HUD’s disparate impact Rule cannot apply to

the underwriting and ratemaking of homeowner’s insurance. In order to make this

argument, Plaintiffs seek to depict those processes as foreordained by objective scientific

calculations. In reality, though, as in any other industry, human judgment and business

strategy are crucial parts of the insurance business. Insurers establish pricing strategies by

taking into account both actuarial determinations and non-actuarial factors, such as

profitability levels, competitor prices, rating territory boundaries, and trending

assumptions. Any of these practices may result in unjustified race disparities. Plaintiffs’

argument that Inclusive Communities precludes application of the HUD Rule in “the

unique context of the insurance business,” Plaintiffs’ Br., ECF No. 60, at 15 (hereinafter

“Pls. Br.”), is therefore misguided both because the insurance business is not unique in

any salient way and because, to the extent underwriting and ratemaking do result from

the risk-sorting process that Plaintiffs describe, they are unaffected by the HUD Rule.

        A. Insurance ratemaking and underwriting are not the products of purely
           objective risk-sorting.




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        Plaintiffs claim that the HUD Rule would force them to set rates based on “factors

other than an insured’s risk profile,” an outcome that would “threaten the viability of the

insurance system.” Pls. Br. 18. To tee up this doomsday scenario, Plaintiffs ignore

crucial facts about underwriting and ratemaking, namely that insurers do not, and never

did, make only those decisions dictated by pure actuarial science.

        To begin with, insurance “underwriting guidelines,” the rules that determine

whether an applicant is eligible to purchase homeowner’s insurance, may not be

scientific. See D.J. Powers, The Discriminatory Effects of Homeowners Insurance

Guidelines, in Insurance Redlining: Disinvestment, Reinvestment, and the Evolving Role

of Financial Institutions 119 (Gregory D. Squires ed., 1997) [hereinafter “Insurance

Redlining”] (“Today, we still find insurance companies making underwriting decisions

based on all kinds of factors that have nothing to do with a statistically measured or

measurable probability of risk.” (quoting S. Comm. on Banking, Hous., and Urban

Affairs, 103rd Cong. (1994) (statement of J. Robert Hunter, former Texas Insurance

Commissioner)). “Underwriting guidelines are typically not the result of careful,

statistical studies. Rather, they are often based on hunches and subjective stereotypes

about classes of consumers and types and geographic location of property.” Id. at 137.

“Historically, underwriters have relied on experience, market knowledge, intuition and

oral history more than statistical insights when evaluating risk.” See Gail McGiffin, Are

Underwriters Smarter Than Predictive Models? 3, Ernst & Young LLP (2013).2




2
 http://www.ey.com/Publication/vwLUAssets/EY_-
_Insurance_underwriters_vs_predictive_models/$File/EY-Insurance-underwriters-vs-predictive-models.pdf

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          During the underwriting process, insurers allow human judgments to modify

actuarial calculations. As a starting point, an underwriting score may be calculated based

on actuarial criteria. See Donald Light, Transforming Underwriting: From Risk Selection

to Portfolio Management 6-7, 12, Celent (March 2004).3 The score is then reviewed to

determine whether the application is accepted, rejected, or in need of additional review.

See id. at 7. There is significant variation among insurers in how this process is actually

implemented and varying levels of quality control. See id. Even after the calculation of

underwriting scores, “half or more of the underwriting decisions may be ultimately made

. . . by human underwriters.” Id. at 7; See also McGiffin at 7 (“Few, if any, underwriting

decisions are truly binary. That’s why insurers still need teams of people who know how

to balance the nuances of risk quality, emerging exposures, market contexts and

competitive strategies as they make critical underwriting decisions.”).

          Insurance rates, even though originally based on actuarial calculations, may be

modified or ignored for reasons unrelated to risk. This is because state law generally

permits insurance companies to modify their rates based on business judgment and

competition. Indeed, the Casualty Actuarial Society’s Statement of Principles Regarding

Property and Casualty Insurance Ratemaking—which Plaintiffs themselves cite, Pls. Br.

at 5—acknowledges that, although the actuary’s role is to derive an estimation of future

costs resulting from the transfer of risk, “[o]ther business considerations are also a part of

ratemaking”; those considerations may include marketing, underwriting, and finance.

See Board of Directors of the Casualty Actuarial Society, Statement of Principles

Regarding Property and Casualty Insurance Ratemaking 4:143-44 (May 1988); see also


3
    http://www.edmblog.com/weblog/files/insurance_transformingunderwriting_celent_wp.pdf

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Stephen M. Dane, The Potential for Racial Discrimination by Homeowners Insurers

Through the Use of Geographic Rating Territories, 24 J. Ins. Reg. 21, 24-272 (2006)

(discussing aspects of the homeowner’s insurance ratemaking function that allow for

subjective and non-actuarial judgments).4

            For example, despite what a company’s actuaries may determine is a fair and

reasonable rate for a specific insurance product in a specific geographic rating territory

based on expected loss costs, company executives may reject that determination for

competitive reasons, i.e., in order to beat a competitor’s price and sell more policies. See,

e.g., Meryl Golden & Mike Miller, Introduction to Price Optimization 7, 10, Earnix

(2014) (listing certain competitive adjustments that are often made to indicated loss costs

during the rate setting process). Actuarially-determined rates can be rejected or modified

by business executives in order to penetrate (or withdraw from) a specific market. See id.

at 7. Or they might be adjusted in response to agent input or customer responses. Id.

            In recent years, insurers have begun to engage in ever more sophisticated forms of

“price optimization,” in which they engage in “data mining of insurance and non-

insurance databases of personal consumer information [, . . .] advanced statistical

modeling or both to select prices that differ from indicated rates at a very detailed or

granular level.” Casualty Actuarial and Statistical Task Force of the National Association

of Insurance Commissioners, Price Optimization White Paper 1 (Nov. 19, 2015)5; see

also HUD Br. 26-27. These techniques allow insurers to “‘optimize’ prices to charge the

greatest price without causing the consumer to switch to another insurer.” Id. at 2. The



4
    Amici note that the author of the cited article is counsel on this brief.
5
    http://www.naic.org/documents/committees_c_catf_related_price_optimization_white_paper.pdf.

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scope of the problem has led nineteen states to issue bulletins making clear that price

optimization constitutes unfair discrimination under state law. See, e.g., Virginia Bureau

of Insurance, Compliance with Statutory Rate Standards in File-and-Use Lines of

Insurance, Virginia Administrative Letter 2016-03 (April 15, 2016)6; Florida Office of

Insurance Regulation, Use of Price Optimization in Premium Determination,

Informational Memorandum OIR-15-04M (May 14, 2015).7

           Plaintiffs’ description of the underwriting and ratemaking process omits any

mention of these various non-risk-related factors, creating the impression that the HUD

Rule will force insurers to deviate from the unadulterated risk-based pricing in which

they previously engaged. But see, e.g., Hayward Aff. ¶ 19 (insurer makes “underwriting

and rating decisions based primarily on insurance risk”) (emphasis added); Meek Aff. ¶ 8

(regulations require that risk assessment be the “primary engine” in underwriting, rating

and pricing) (emphasis added). However, insurers regularly adjust their rates to account

for a variety of judgments and business-related factors, and where those rates are risk-

justified, the HUD Rule will not require any additional adjustment.

           B. The HUD Rule distinguishes between those aspects of the insurance
              business that are based on legitimate actuarial considerations and those
              that are not.


           There is no question that insurance companies do make pricing and underwriting

decisions involving considerations other than risk, nor that the incorporation of these

considerations leads to racial disparities that cannot be explained by risk of loss. See e.g.,

Robert W. Klein, Availability and Affordability Problems in Urban Homeowners


6
    http://www.scc.virginia.gov/boi/adminlets/16-03.pdf
7
    http://www.floir.com/siteDocuments/OIR-15-04M.pdf

                                                      8
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Insurance Markets, in Insurance Redlining at 72-73 (concluding that the “relationship

between race and the availability of insurance persists, even imperfectly controlling for

the risk of loss.”). The insurance industry has employed numerous policies and practices

that unnecessarily limit risk and act as an unfair barrier to homeownership, which may be

so longstanding that insurers have come to believe they are necessary. The purpose and

effect of the Rule’s burden-shifting framework is to ensure that those practices that are, in

fact, justified by risk calculations will remain unaffected, while those that are mere

custom will drop away. The Rule thus roots out those practices that cause unjustified

racial disparities. With respect to insurance, of course, practices that are driven by risk of

loss are justified by definition. See HUD Br. 19-20.

       Indeed, measured against the reality of the insurance business, it is not surprising

that the core claim advanced by Plaintiffs here has been rejected by courts as overly

“sweeping,” Nat’l Fair Hous. Alliance, Inc. v. Prudential Ins. Co. of Am., 208 F. Supp.

2d 46, 60 (D.D.C. 2002), and even “fanciful,” DeHoyos v. Allstate Corp., 345 F.3d 290,

297 n.5 (5th Cir. 2003). The court in Prudential elaborated:

           Essentially, [Prudential’s] argument turns on the purportedly unique
           nature of the insurance industry, which must “discriminate” based
           on an assessment of risk. However, this argument is unavailing in
           light of the availability of the “business justification” defense.
           Plaintiffs do not challenge Prudential’s right to evaluate
           homeowners insurance risks fairly and objectively. Rather, plaintiffs
           allege that the underwriting policies and practices employed by
           Prudential are not purely risk-based. Furthermore, defendants
           cannot point to anything in the FHA itself that would justify this
           Court in carving out an exception for a particular type of
           organization.

208 F. Supp. 2d at 60. The Fifth Circuit similarly observed that the insurance industry’s

“ominous” description of how disparate impact will force federal courts to act as “super



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actuar[ies,] . . . although colorful, is incorrect.” DeHoyos, 345 F.3d at 297 n.5. Courts

are regularly called upon to evaluate whether a practice with a disparate impact is

nevertheless justified by a business necessity, and the “attempt to distinguish the business

of insurance from other businesses is unpersuasive.” Id.8

         The Seventh Circuit similarly observed, in NAACP v. American Family Mutual

Insurance Company, that insurers are no different from lenders when it comes to risk

assessment. Like insurers, lenders must evaluate risks, such as whether to extend credit

in the first instance and what rate of interest to charge. Am. Family Mut. Ins. Co., 978

F.2d at 298-99. Yet, the FHA indisputably applies to lenders, so “it is difficult to see risk

classification as a principled ground to exclude insurers” from disparate impact analysis.

Id. at 299; see also Dana L. Kaersvang, The Fair Housing Act and Disparate Impact in

Homeowners Insurance, 104 Mich. L. Rev. 1993, 2010-11 (2006) (discussing how

empirical evidence undermines the argument that risk assessment by insurers differs from

risk assessment by lenders and others).9

         And, of course, the careful phrasing of Plaintiffs’ brief—which asks this Court to

find the HUD Rule unlawful only as applied to “insurers’ ratemaking and underwriting


8
  The court also noted that the supposed conflicts between disparate impact enforcement and state insurance
laws “are entirely conjectural.” Id. at 299 n.7; see also Moore v. Liberty Nat’l Life Ins. Co., 267 F.3d 1209,
(11th Cir. 2001) (noting that “Liberty National argues that racial discrimination is acceptable in the
Alabama . . . insurance context so long as those racial distinctions have an actuarial basis,” and holding that
“[a]bsent more convincing evidence that racial discrimination in the insurance context is an integral part of
Alabama’s regulatory scheme, Liberty National’s argument must fail.”).
9
  In its earlier opinion in this case, this Court held that insurers would need to “collect and analyze certain
types of race-based data on their clients and prospective clients.” Amended Mem. Op., ECF No. 47, at 26-
27. In this regard, though, homeowner’s insurers are no differently situated from other businesses that are
subject to disparate impact liability under the FHA. Apartment managers do not record the race of housing
applicants or tenants. Real estate sales agents do not record the race of their buyers. Although some lenders
are required by federal law to collect and report racial and gender demographic data of loan applicants, 12
U.S.C. § 2803, they are not required to collect or report data about the other protected class characteristics
(such as religion, disability, or familial status). In other words, a regulated entity’s preexisting collection of
demographic data is not a precondition for application of the disparate impact standard or the HUD Rule.

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decisions,” Pls. Br. 15, concedes that there is no reason the HUD Rule ought not apply to

the numerous other practices in which insurers engage. See HUD Br. 26. These ordinary

business practices—including marketing and advertising campaigns, sales techniques,

agent office placements, insurance product design and benefits, and processes for settling

claims and renewing policies—are no different for insurers than for other businesses

subject to the Fair Housing Act. Yet such business practices may have significantly

different impacts on different populations, with no business justification for that

disparity. See, e.g., Klein, at 47-48 (identifying several nonrisk related barriers that can

influence the availability and affordability of homeowners insurance in urban markets,

including agent bias, prejudicial views of decision-making personnel, adverse selection,

agent commission structures, etc.).

        As Plaintiffs well know, “not every housing practice that has a disparate impact is

illegal. We use [the disparate impact framework]…to distinguish the artificial, arbitrary,

and unnecessary barriers proscribed by the FHA from valid policies and practices crafted

to advance legitimate interests.” Graoch Assoc. #33, L.P. v. Louisville/Jefferson Cty.

Metro Human Relations Comm’n, 508 F.3d 366, 374-5 (6th Cir. 2007); see also Inclusive

Communities, 135 S. Ct. at 2512 (2015) (“Policies, whether governmental or private, are

not contrary to the disparate-impact requirement unless they are artificial, arbitrary, and

unnecessary barriers.”) (citation and internal marks omitted). Where underwriting

decisions and rates are risk-justified, they are not artificial, arbitrary, or unnecessary, and

disparate impact liability will not lie. Accordingly, while the HUD Rule does not affect

such practices, it helps eradicate those extant practices in the homeowner’s insurance

industry which have an unjustified disparate impact on members of protected classes.



                                              11
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         C. Plaintiffs’ hypotheticals ignore the realities of the insurance business and the
            HUD Rule.

         To support their argument that HUD’s Rule is unlawful, Plaintiffs pose two

hypotheticals concerning challenges to an insurer’s decision to charge different prices to

different homeowners. Pls. Br. at 25-26, 28-29. Tellingly, neither scenario bears any

resemblance to actual litigation brought to challenge insurance policies that have a

disparate impact. Plaintiffs’ hypotheticals do not even concern the availability of

insurance, the primary focus of prior disparate impact claims. See, e.g., National Fair

Housing Alliance, Inc., v. Prudential Ins. Co., 208 F. Supp. 2d 46 (D.D.C. 2002).

         Plaintiffs’ first hypothetical, which involves pricing affected by geographically

based, weather-related risks, merely illustrates how overwrought are the insurers’

contentions that the disparate impact rule imposes on them significant additional

burdens.10 Pls. Br. at 25-26. If homeowners living in a coastal area (“predominantly

inhabit[ed]” by Asian-Americans) were to show that they pay higher insurance rates than

those in inland areas (“primarily inhabit[ed]” by black residents), Plaintiffs suggest that

the HUD Rule would force the insurer to analyze “its rating and underwriting models and

data to determine which actuarially significant risk caused the statistical deviation.” Id.


10
   As a threshold matter, weather exposures in the homeowner’s insurance context are generally
underwritten very differently from property-specific risks. These geographic rating decisions typically take
into account not just past actual claims, but weather patterns predicted to occur in the future. See e.g., J.
Stromberg, How the Insurance Industry is Dealing With Climate Change, SMITHSONIAN MAGAZINE, (Sept.
24, 2013), http://www.smithsonianmag.com/science-nature/how-the-insurance-industry-is-dealing-with-
climate-change-52218/?no-ist (noting a shift from historic to predictive weather risk assessment models); S.
Stiles & S. Hulst, Homeowners Insurance Changes in Coastal Virginia, WETLANDS WATCH 15 (July
2013), http://www.floods.org/ace-files/documentlibrary/committees/Insurance/WetlandsWatch_Insurance-
study.pdf (most insurance companies use future weather modeling in their underwriting). Many coastal
states have enacted special legislation governing insurer practices in coastal areas. See, e.g., S. Schallau,
Coastal Property Insurance: The Carolinas, AM. ASS’N. OF MANAGING GEN. AGENTS 3, 9-10 (2013),
http://www.aamga.org/files/whitepapers/2013wp/SchallauSteven_AppState_CoastalPropertyCarolinas.pdf.
The use of a weather-based hypothetical in this context, therefore, is especially unhelpful.



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But this “burden” is completely fictional, because state law requires that the insurer

provide an empirical, actuarial basis for specific geographic rating differences before

those rates are implemented. See, e.g., Gov’t of the Dist. of Columbia, Dept. of Ins. Sec.

and Banking, Property & Casualty Rate/Rule Filing Requirements (2008).11 In reality, an

insurer facing such a disparate impact claim would not need to retrospectively look for

and justify the basis for its differences in pricing, but would merely produce its pre-

existing justification for establishing those geographic rating differences. This hardly

seems burdensome, and any burden it does create is smaller than that facing non-insurers

subject to disparate impact liability.

         Plaintiffs’ second hypothetical, meanwhile, actually demonstrates the elegance

and value of HUD’s Rule. Pls. Br. at 28-29. Plaintiffs imagine that an insurer’s rates for

“customers of a particular religion in a certain city” are statistically higher than some

unspecified comparative population. Id. at 28. In Plaintiffs’ hypothetical, that disparity

is because customers of that religion tend more frequently to live in homes that “rely on

wood-burning stoves for heat,” and the insurer charges higher rates for such homes to

reflect greater risk of fire. Id. Plaintiffs complain that they could face liability under the

HUD Rule if the impacted customers show that a less discriminatory alternative—making

pricing decisions turn on proximity to fire stations12— adequately protects the insurer


11
 http://disb.dc.gov/sites/default/files/dc/sites/disb/publication/attachments/property_and_casualty_require
ments_52008.pdf
12
  To once again return to real-world underwriting, insurers already underwrite for both the existence of
wood-burning heating systems and proximity to fire stations. See A. Arnold, Did You Know: Fire Station
Proximity Affects Home Insurance Rates, KSN.COM (Nov. 6, 2014), http://ksn.com/2014/11/06/did-you-
know-fire-station-proximity-affects-home-insurance-rates/; Acord Dwelling Fire Application, Sea Coast
Underwriters, Inc., (2012)
http://www.seacoastunderwriters.com/uploads/Acord%2084%20Dwelling%20Fire.PDF (asking if wood
stove insert is present). To amici’s knowledge, no group protected by the FHA, religious or otherwise, has
challenged either factor.

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against risk of fire without correlating so closely to membership in a protected class. It is

puzzling that Plaintiffs think it would be bad for an insurer to achieve its legitimate

business purpose with a practice that does not have a statistically greater impact on one

religion than any other. On the other hand, if the alternative policy does not adequately

achieve the legitimate business purpose, as Plaintiffs’ hypothetical appears to suggest,

then the insurer would face no liability at all under the HUD Rule.

         In sum, neither hypothetical provides support for Plaintiffs’ argument that the

HUD Rule exists in fundamental tension with the operation of the insurance industry.


   II.      ELIMINATING PRIVATE BUSINESS PRACTICES THAT CAUSE
            UNJUSTIFIED RACIAL DISPARITIES DOES NOT RAISE
            CONSTITUTIONAL QUESTIONS OR VIOLATE INCLUSIVE
            COMMUNITIES.

         The HUD Rule requires providers of homeowner’s insurance to ensure that their

policies are not causing unjustified disparities for members of protected classes. In

arguing that this very act of examination is prohibited by the Constitution, Plaintiffs

confuse race-consciousness with racial classification and pretend that the equal protection

clause applies in the same way to private and government actors. The Supreme Court has

repeatedly made clear that facially race-neutral policies, like those insurers might enact to

comply with the HUD Rule, do not trigger heightened scrutiny merely because they are

intentionally crafted to remedy segregation and racial gaps.

         It is worth noting at the outset that Plaintiffs effectively concede that any

purported constitutional concerns, or related arguments arising from the Inclusive

Communities decision, are not raised by the application of the HUD Rule to members of

other protected classes, such as sex or religion, in the same way. Pls. Br. 19 n.3. They

consign this point to a one-sentence footnote without engaging in the distinct
                                               14
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constitutional analysis dictated by those contexts. Moreover, they entirely ignore that the

FHA also applies to discrimination based on familial status and disability, 42 U.S.C. §

3604, which do not trigger heightened constitutional scrutiny. See Bd. of Trustees of

Univ. of Alabama v. Garrett, 531 U.S. 356, 365-67 (2001).

       A. Recent Supreme Court jurisprudence makes clear that even governments
          can enact race-neutral policies designed to close racial gaps without
          raising constitutional questions.

       Plaintiffs argue that application of the HUD Rule to insurers would raise “serious

constitutional questions,” because it “compels race-based decisions.’” Pls. Br. 19

(citation and internal marks omitted). This vague and speculative argument ignores the

fact that the Constitution binds government actors; it does not bind private actors

performing private functions. Plaintiffs rely on caselaw discussing the application of the

equal protection clause to government classifications based on race, but they cite none

applying the equal protection clause to private action—not even where private action is

motivated by the desire to comply with law. Pls. Br. 18-20 (citing, inter alia, Miller v.

Johnson, 515 U.S. 900 (1995) (voting districts drawn by legislature); Fisher v. Univ. of

Texas at Austin, 133 S. Ct. 2411 (2013) (state university admissions)).

       Even more importantly, Plaintiffs’ constitutional argument ignores the careful

distinction that the Supreme Court has repeatedly drawn between race-neutral

government policies and practices designed to end unjustified racial disparities and those

that allocate benefits and burdens to particular individuals based upon race. Only policies

in the latter category are subject to heightened scrutiny. Those in the former category, far

from raising the kinds of “grave” constitutional concerns warranting constitutional

avoidance, Rust v. Sullivan, 500 U.S. 173, 191 (1991), are instead encouraged by the

Supreme Court as appropriate means of dealing with troubling racial gaps.
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       Recent Supreme Court jurisprudence makes the point clear. In Parents Involved

in Community Schools v. Seattle School District No. 1, the Court held that the school

districts’ voluntary consideration of individual students’ race in assigning them to schools

violated equal protection. 551 U.S. 701, 748 (2007). The Court held, not for the first

time, that “all racial classifications imposed by government must be analyzed by a

reviewing court under strict scrutiny.” Id. at 741 (quoting Johnson v. California, 543

U.S. 499, 505 (2005)) (internal marks omitted). However, Justice Kennedy’s pivotal

concurrence affirms that “a constitutional violation does not occur whenever a

decisionmaker considers the impact a given approach might have on students of different

races.” Id. at 789. School districts can make “race conscious” decisions to foster

diversity by, for example, drawing attendance zones influenced by neighborhood

demographics and keeping statistics on enrollment and performance by race. Id.

Because such decisions “do not lead to different treatment based on a classification that

tells each student he or she is to be defined by race,” they are unlikely to trigger

heightened scrutiny. Id.

       The Court’s very different treatment of two University of Texas admissions

policies in Fisher v. University of Texas at Austin again emphasizes that strict scrutiny

applies not to every policy designed with racial impact in mind, but only to those that

allocate benefits or burdens to particular individuals based upon race. In that case, the

plaintiff challenged an undergraduate admissions policy in which the race of an applicant

was explicitly considered as part of a holistic review process. 133 S. Ct. 2411 (2013)

(“Fisher I”). Justice Kennedy’s opinion reiterated that “racial classifications” must be

subject to strict scrutiny, id. at 2418-19, and when the case returned to the Court a second



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time, the policy was found to meet strict scrutiny. Fisher v. Univ. of Texas at Austin, 136

S. Ct. 2198, 2214 (2016) (“Fisher II”). At neither point did any justice express any doubt

about the constitutionality of another admissions policy that aimed to ensure the

admission of Black and Latino students by admitting all Texas students who graduated in

the top ten percent of their class. In Fisher II, the Court specifically noted that “the Top

Ten Percent Plan, though facially neutral, cannot be understood apart from its basic

purpose, which is to boost minority enrollment.” 136 S. Ct. at 2213 (2016). Because

such plans are “‘adopted with racially segregated neighborhoods and schools front and

center stage,’” they are very much race-conscious. Id. (quoting Fisher I, 133 S.Ct., at

2433 (Ginsburg, J., dissenting)). Nonetheless, they are not subject to heightened scrutiny.

       Ricci v. DeStefano once again echoes the idea that designing policies with an eye

to their racial consequences is legally and conceptually distinct from taking a particular

individual’s race into account in making a decision that affects that individual. 557 U.S.

557 (2009). There, Justice Kennedy’s majority opinion held that, while Title VII

prohibited the City of New Haven from throwing out the results of a promotional exam

after it had been administered because Black and Latino firefighters had not performed as

well as white firefighters, Title VII “does not prohibit an employer from considering,

before administering a test or practice, how to design that test or practice in order to

provide a fair opportunity for all individuals, regardless of their race.” 557 U.S. at 585.

Nor is the Court skeptical of “an employer’s affirmative efforts to ensure that all groups

have a fair opportunity to apply for promotions and to participate in the process by which

promotions will be made.” Id. While Ricci was decided on statutory and not

constitutional grounds, id. at 584, it underscores that considering racial effects when



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creating policies does not give the Court pause.13

         Race-neutral policies like these, designed to ameliorate racial gaps without

treating individuals differently based upon race, do not raise any constitutional issues at

all, let alone “serious” constitutional problems, Pls. Br. 19. Accordingly, that the HUD

Rule could cause providers of homeowner’s insurance to make race-neutral changes to

their ratemaking and underwriting practices ought not affect this Court’s construction of

the Fair Housing Act or its deference to HUD. And, as described further below, any

changes made by insurers would inevitably be race-neutral and thus well within the

bounds of disparate impact liability as described by Inclusive Communities.

         B. Inclusive Communities did not alter equal protection jurisprudence to
            prohibit consideration of race in policy design.

         The doctrinal background above is crucial to understanding Justice Kennedy’s

majority opinion in Inclusive Communities. The opinion breaks no new ground in stating

that policies that sort individuals by race raise constitutional questions whereas race-

neutral policies do not. Rather, it builds upon Parents Involved, Fisher I & II, and Ricci.

         Inclusive Communities holds that disparate impact discrimination is indeed

prohibited under the Fair Housing Act. It notes that without safeguards at the prima facie

stage, “disparate-impact liability might cause race to be used and considered in a

pervasive way and ‘would almost inexorably lead’ governmental or private entities to use

‘numerical quotas,’ and serious constitutional questions then could arise.” Texas Dep’t of

Hous. & Cmty. Affairs v. Inclusive Communities Project, Inc., 135 S. Ct. 2507, 2523


13
  Plaintiffs cite language from Justice Scalia’s concurrence to suggest that evaluating the racial impact of
policies is discriminatory. Pls’ Br. 19 (citing Ricci v. DeStefano, 557 U.S., at 594 (Scalia, J., concurring)).
But even if that language could be read to assert that race-neutral policies violate the Constitution, it is
directly contradicted by holdings of the Court in Inclusive Communities and the Fisher cases. Not a single
other justice joined Justice Scalia’s opinion in Ricci.

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(2015) (citing Wards Cove Packing Co. v. Atonio, 490 U.S. 642, 653 (1989)). Plaintiffs’

brief attempts to divorce the first clause of this sentence—about using and considering

race—from the second—explaining why such practices would raise constitutional

concerns.14 In context, though, it is clear that the Court’s constitutional concern in

Inclusive Communities mirrors its concern in the earlier jurisprudence: disparate impact

liability under the Fair Housing Act cannot be interpreted to demand “quotas”—that is,

that individual seekers of housing or housing-related services be treated differently

depending upon their race. See id. at 2524 (“Remedial orders that impose racial targets

or quotas might raise more difficult constitutional questions.”).

         Consistent with the Supreme Court’s contemporary equal protection

jurisprudence, Inclusive Communities emphasizes that, in the context of race-neutral

policies designed to remedy racial disparities, consideration of race is not problematic.15

“While the automatic or pervasive injection of race” into FHA-covered transaction is not

desirable, housing authorities’ attempts “to foster diversity and combat racial isolation

with race-neutral tools” are different. Id. at 2525. Moreover, “mere awareness of race in

attempting to solve the problems facing inner cities does not doom that endeavor at the

outset.” Id. In making this point, the opinion explicitly cites to Justice Kennedy’s

discussion of race-neutral school integration tools in his Parents Involved concurrence

and the Ricci language approving of employers’ “affirmative efforts to ensure that all

groups have a fair opportunity” to secure promotions. Id. (citing Ricci, 557 U.S., at 585).




14
  Plaintiffs’ brief artfully divorces the “serious constitutional questions” language from the concern about
quotas. Pls. Br. 11.
15
  Indeed, as HUD aptly notes, if consideration of race were always impermissible, the mere existence of
disparate impact liability would be unconstitutional. HUD Br. 22-23.

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        Finally, while Inclusive Communities seeks to ensure that disparate impact

liability is applied in a manner that reduces the “salience of race,” id. at 2524, it also

notes that vestiges of de jure housing segregation “remain today, intertwined with the

country’s economic and social life,” id. at 2515, and “acknowledges the Fair Housing

Act’s continuing role in moving the Nation toward a more integrated society,” id. at

2525-26. Nonetheless, Plaintiffs read the decision to foreclose application of the

disparate impact standard to the underwriting and ratemaking of homeowner’s insurance.

In light of the Court’s repeated approval of race-neutral policies designed to remedy

racial disparities, that interpretation is untenable.

        C. The HUD Rule may cause insurers to take race-neutral actions that
           remove unjustified racial disparities, but those actions raise no
           constitutional concerns.

        In order to comply with the HUD Rule, providers of homeowner’s insurance may

indeed need to change certain underwriting and ratemaking policies—but only those

policies that disproportionately impact members of protected groups and are

simultaneously not justified by actuarial considerations (or for which the actuarial need

could be met in a less discriminatory fashion). See supra Section I.B. Even in instances

where such changes were necessary, though, that process would not result in a single

insured or applicant for insurance being treated differently from any other on the basis of

race. Accordingly, these policies are race-neutral and, consistent with Inclusive

Communities and the equal protection jurisprudence described above, applying the HUD

Rule to insurers does not raise any constitutional concerns.

        Policy changes that providers of homeowner’s insurance have implemented in

response to past disparate impact claims illustrate the point. Insurers have eliminated

underwriting criteria that do not correlate with actuarial risk, benefitting homeowners of
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all races who would have been screened out or charged a higher premium under the old

underwriting standards.16 They have made all types of insurance policies widely

available across census tracts, a facially race-neutral move that increases access for all

consumers to desirable forms of insurance, such as replacement cost policies.17 And they

have increased the accessibility and availability of insurance in targeted urban areas,

moves that improve the vitality and stability of neighborhoods, not simply the lot of

minority residents.18 Each of these policy changes ameliorates a disparate impact, but

none results in any individual being treated differently based upon a racial classification.

Cf. Fisher I, 133 S. Ct. 2411, 2417 (an individual subject to a racial classification “‘is

entitled to a judicial determination that the burden he is asked to bear on that basis is




16
   See, e.g., Conciliation Agmt. at ¶ 8(A)-(C), HUD v. Allstate Ins. Co., No. 03-94-0529-8 (Feb. 1997)
(eliminating maximum-age-of-property and minimum-value-of-property requirements, limiting use of
credit scoring, and agreeing to adopt objective property-inspection criteria); Conciliation Agmt. at ¶ 11(a)-
(f), HUD v. State Farm Fire & Cas. Co., Nos. 05-94-1351-8, 05-94-1352-8 (July 1996) (modifying
underwriting criteria to, inter alia, eliminate maximum-age and minimum-value requirements, limit use of
credit reports, and reduce subjective criteria, and agreeing not to decline coverage solely because another
insurer did so); Consent Decree at § III.A, United States v. Nationwide Mut. Ins. Co., No. C2-97-291 (S.D.
Ohio Mar. 10, 1997).
17
  See, e.g., Consent Decree at ¶ 19, United States v. Erie Ins. Co. of N.Y., No. 08-0945 (W.D.N.Y. Dec. 23,
2008); Consent Decree at §§ II.c.3, III, NAACP v. Am. Family Mut. Ins. Co (increasing access to
replacement cost policies by, inter alia, eliminating requirement that home must have a market value of
80% or more of the estimated replacement cost); Conciliation Agmt. at ¶ 11(h), State Farm Fire & Cas.
Co. (agreeing to encourage customers to insure to full replacement cost).
18
   See, e.g., Conciliation Agmt. at ¶ 6, Allstate Ins. Co. (expanding comprehensive neighborhood
partnership program and adding sales and service centers in targeted urban areas); Conciliation Agmt. at ¶
13(h), State Farm Fire & Cas. Co. (adding sales and service centers in targeted urban neighborhoods with a
substantial minority population and agreeing to make $1 million in loans available for mortgage financing
in neighborhoods with substantial African-American populations); Consent Decree at § III.A.3-III.A.4,
Nationwide Mut. Ins. Co. (agreeing to affirmative efforts to increase company’s presence in predominantly
minority neighborhoods, including community outreach); id. at § VI (providing $2.2 million per year in
financial assistance for homebuyers in certain predominantly minority neighborhoods); Consent Decree at
§ VI , NAACP v. Am. Family Mut. Ins. Co. (providing $9.5 million in community-based programs including
interest rate subsidies for home mortgage and repair loans to encourage the purchase and rehabilitation of
dilapidated homes in predominantly African-American communities). See also HUD Br. 18 (discussing
Travelers’ decision to discontinue underwriting criteria that preclude issuing insurance to landlords with
Section 8 tenants).

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precisely tailored to serve a compelling governmental interest’”) (quoting Regents of

Univ. of Cal. v. Bakke, 438 U.S. 265, 299 (1978)).

        These changes—like others that might be required by the HUD Rule—are no

doubt race-conscious, in the sense that they are enacted as a result of considering the

racial impact of current policies. Similarly, to use the Plaintiffs’ hypothetical, an insurer

might well determine that exposure to coastal winds is not, in fact, correlated with risk of

loss, and thus opt to remove that factor from its ratemaking calculus given the

disproportionate impact on Asian-Americans. See Pls. Br. 25-26. That decision would

be race-conscious, in the sense that it “cannot be understood apart from its basic purpose,

which is to [remedy a racial disparity].” Fisher II, 136 S. Ct., at 2213. But the fact that

the policy is designed with racial impacts in mind—and by assessing demographics in

order to do that—does not change its facial neutrality or render it a racial classification

triggering serious constitutional questions. The Top Ten Percent plan approved by all

justices in Fisher was designed in that fashion. Id. (noting that such plans are “‘adopted

with racially segregated neighborhoods and schools front and center stage’” and are

therefore not “blind[ ] to race.”). So are the facially neutral school diversity tools

encouraged by Justice Kennedy’s Parents Involved concurrence, including both drawing

attendance zones with neighborhood demographics in mind and “tracking enrollments,

performance, and other statistics by race.” 551 U.S., at 789 (Kennedy, J., concurring).

       Plaintiffs note that equal protection requires that people be treated as individuals,

not “as simply components of a racial, religious, sexual or national class.” Pls. Br. 19-20

(quoting Miller v. Johnson, 515 U.S. 900, 911 (1995)). But they fail to demonstrate that

the HUD Rule would require or even encourage any action tantamount to such an



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“individual racial classification” through which “burdens or benefits” are distributed.

Parents Involved, 551 U.S., at 720. Instead, the HUD Rule asks providers of

homeowner’s insurance to examine their policies for unjustified racial disparities and to

make facially neutral policy changes to remedy any such disparities. No constitutional

issues arise as a result.

    III.      THE ARGUMENT THAT HUD MUST APPLY THE WARDS COVE
              DISPARATE IMPACT STANDARD FOR TITLE VII TO THE
              FAIR HOUSING ACT IS FORECLOSED BY ADMINISTRATIVE
              LAW.

           The brief of the American Bankers Association and other banking and financial

services industry groups, writing as amici for Plaintiffs, contends that the HUD Rule is

contrary to law because it does not apply to the Fair Housing Act the standard for

disparate impact in the Title VII context articulated in Wards Cove Packing Co. v.

Atonio, 490 U.S. 642 (1989). Br. of American Bankers Ass’n. et al. (hereinafter “ABA

Br.”), at 3-4. But that argument is entirely foreclosed by Nat’l Cable &

Telecommunications Ass’n v. Brand X Internet Servs., which held that a prior court

decision binds an agency only where that prior decision follows from the unambiguous

terms of the statute at issue. 545 U.S. 967, 982 (2005). Here, because Wards Cove does

not mention the FHA and no subsequent decision of the Supreme Court applies the

Wards Cove standard to the FHA, that requirement is clearly not satisfied. The HUD

Rule is therefore entitled to deference under Chevron v. Natural Resources Defense

Council, 467 U.S. 837 (1984). See HUD Br. 13 (describing Chevron standard).

           In Brand X, the Supreme Court addressed a Ninth Circuit decision that had

declined to grant Chevron deference to the agency’s interpretation of a statute based on

an earlier Ninth Circuit decision that had interpreted the statute differently. The Supreme


                                              23
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Court reversed, holding that an agency’s interpretation otherwise entitled to Chevron

deference trumps unless “the prior court decision holds that its construction follows from

the unambiguous terms of the statute and thus leaves no room for agency discretion.”

Brand X, 545 U.S., at 982. Because the previous Ninth Circuit decision had held only

that a particular definition of a term was the “best reading” of the statute, and “not that it

was the only permissible reading of the statute,” it did not foreclose the agency’s different

interpretation. Id. at 984 (emphasis in original).

         After Brand X, it cannot be seriously argued that Wards Cove, a decision that does

not even mention the Fair Housing Act, would disrupt the Chevron deference to which

HUD is entitled in promulgating its Rule under the Fair Housing Act.19 Wards Cove

certainly did not hold that any particular construction of the FHA “follows from the

unambiguous terms of th[at] statute,” Brand X, 545 U.S., at 982, and neither did either of

the Supreme Court decisions concerning the Age Discrimination in Employment Act

cited by Plaintiffs’ amici. ABA Br., at 7-8 (citing, inter alia, Smith v. City of Jackson,

Miss., 544 U.S. 228 (2005); Gross v. FBL Fin. Servs., Inc., 557 U.S. 167 (2009)). Once

again, neither of those decisions mentions the FHA, and one specifically notes that courts

“must be careful not to apply rules applicable under one statute to a different statute

without careful and critical examination.” Gross, 557 U.S., at 174 (quoting Federal

Express Corp. v. Holowecki, 552 U.S. 389, 393 (2008)). Finally, while Inclusive



19
   As the Wards Cove Court put it, that decision addressed the “the proper application of Title VII’s
disparate-impact theory of liability.” 490 U.S., at 650. In so doing, it relied upon the intent of Congress in
drafting Title VII. Id. at 652-53. With the Civil Rights Act of 1991, Congress rejected significant aspects
of the Wards Cove view of Title VII, such that Wards Cove has not represented the proper disparate impact
framework for Title VII claims for the last twenty-five years. See Pub. Law No. 102–166, 105 Stat. 1071
(1991); 42 U.S.C. §§ 2000e-2(k)(1)(A)-(C).



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Communities does cite Wards Cove once, 135 S. Ct. at 2523, not even Plaintiffs’ amici

argue that the narrow context of that citation constitutes a holding that the Fair Housing

Act unambiguously imports the Wards Cove standard. See ABA Br., at 9.20

        Plaintiffs’ amici complain repeatedly that the HUD Rule rejects “binding

Supreme Court precedent,” ABA Br., at 3, 9-10, but they ignore that the agency remains

completely free to “construe th[e] statute differently from a court” except where the court

has specifically held that its interpretation is the only permissible reading of the statute.

Brand X, 545 U.S., at 983. As amici note, HUD considered the suggestion that Wards

Cove ought to govern the FHA disparate impact framework, and HUD rejected that

suggestion. 78 Fed. Reg. 11,460, 11,473 (“HUD does not agree. . .that Wards Cove even

governs Fair Housing Act claims.”) HUD was entitled to make that decision, because

there is no ruling of the Supreme Court, or any other court, holding that the terms of the

Fair Housing Act unambiguously incorporate the Wards Cove standard. See HUD Br. 42

n.32. Accordingly, per Brand X, the HUD Rule is entitled to Chevron deference.

                                           CONCLUSION

        For the foregoing reasons, the Court should grant summary judgment to HUD.



                                                              Respectfully submitted,

                                                              Rachel E. Goodman
                                                              Dennis D. Parker
                                                              AMERICAN CIVIL LIBERTIES
                                                              UNION FOUNDATION
                                                              125 Broad St., 18th Floor
                                                              New York, NY 10004

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  In fact, after Inclusive Communities, the Second Circuit held that Brand X requires deference to the HUD
Rule. Mhany Management, Inc. v. County of Nassau, 819 F.3d 581, 617-19 (2d Cir. 2016) (holding, based
on Brand X, that prior Second Circuit precedent regarding FHA impact analysis must be abrogated in light
of HUD’s impact regulation to the contrary).

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                                         (212) 549-2500

                                         Joseph D. Rich
                                         Thomas Silverstein
                                         LAWYERS’ COMMITTEE FOR
                                         CIVIL RIGHTS UNDER LAW
                                         1401 New York Avenue, N.W.,
                                         Suite 400
                                         Washington, DC 20005
                                         Telephone: (202) 662-8600
                                         Fax: (202) 783-5113

                                         Morgan Williams
                                         NATIONAL FAIR HOUSING
                                         ALLIANCE
                                         1101 Vermont Ave. N.W., Suite 710
                                         Washington, D.C. 20005
                                         Telephone: (202) 898-1661

                                         /s/ Stephen M. Dane
                                         Stephen M. Dane
                                         D.D.C. Bar #982046
                                         RELMAN, DANE & COLFAX
                                         PLLC
                                         1225 19th Street, N.W., Suite 600
                                         Washington, DC 20036
                                         Telephone: (202) 728-1888
                                         Fax: (202) 728-0848

                                         Attorneys for Amici Curiae



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